Case: 4:17-cr-00131-DMB-JMV Doc #: 1-3 Filed: 11/03/17 1 of 1 PagelD #: 16

CRIMINAL CASE COVER SHEET

Place of Offense:
City Cleveland

 

Bolivar

RECEIVED
NOV 03 2017

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPP

County

Defendant Information:
[_ ves

Juvenile:

Defendant Name

[V|No
CHARLINE BRANDON

U.S. DISTRICT COURT
Complete entire form

Related Case Information:

Superseding:| Yes [V No If yes, Case No.

Same Defendant New Defendant

Magistrate Judge Case Number

 

Search Warrant Case Number

R20/R40 from District of

 

 

4:17-CR-119-MPM

Related Criminal Case Number

 

[ves [|No

If yes, Matter to be sealed:

 

Alias Name Hadiya Imani El Bey

 

Address Cleveland, MS

 

 

 

 

 

 

 

 

pop !956 SS#_XXX-XX-SO16 coy F Race B Nationality

Represented by: John Daniels, Gaines Dyer, Gerald Jacks

U.S. Attorney Information: AUSA Clayton A. Dabbs Bar # 101537
Interpreter:[_]Yes [V|No List Language and/or dialect:

Location Status:

Pretrial Release [Vlves [_|No In Custody [_lves [V No

Federal State Date of Arrest

Location

U.S.C. Citations

Total # of Counts 10 [Petty [Misdemeanor [v |Felony
Title & Section Description of Offense Charged Count(s)
Set | 18:1349.F ATTEMPT AND CONSPIRACY TO COMMIT FRAUD |

Set 2 18:1347.F HEALTH CARE FRAUD 1-10

 

Set 3

 

Set 4

Date: 11/2/2017

—,

Signature of AUSA Ae
— L.

 

District Court Case Number:
(To be entered by Clerk)

HACKS |
